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FORM orcnv7 (Rev. 03/15)
                                     UNITED STATES BANKRUPTCY COURT
                                            Northern District of Florida
                                               Gainesville Division

In Re: Prioria Robotics, Inc.                                         Bankruptcy Case No.: 18−10018−KKS
       Tax ID: 45−4044132
        Debtor
                                                                      Chapter: 7
                                                                      Judge: Karen K. Specie


                                   ORDER CONVERTING CASE TO CHAPTER 7

     Upon consideration of the motion/notice to convert pursuant to Section 1112 , Title 11, United States Code, it is

    ORDERED:

     1. The debtor's Chapter 11 case be, and it hereby is, converted to a case under Chapter 7 of Title 11, United
States Code.

     2. Within fourteen (14) days of the date of this order, or on or before the meeting of creditors to be subsequently
scheduled in the converted Chapter 7 case, the debtor shall file a schedule of current income and current expenditures
and the statement of intention required by 11 U.S.C. Section 521(a)(1) and (a)(2). In addition, the Chapter 7
Statement of Your Current Monthly Income (Official Form B22A−1) and Chapter 7 Means Test Calculation (Form
B22A−2) shall be filed within fourteen (14) days pursuant to Rule 1007(c), if applicable.

     3. Pursuant to Rule 1019(5), the debtor(s) in the superseded Chapter 11 case shall file within fourteen (14) days
of the date of this order, a full report and account including current inventory and a separate schedule (with mailing
matrix) listing all unpaid debts incurred after the commencement of the Chapter 11 case. Failure to file said report
will cause the debtor(s) or officers of the debtor to be surcharged for the cost to have the report prepared and may
cause the debtor(s) or its officers to be held in contempt and fined or otherwise punished.

     4. Upon the filing of the aforesaid final report and account and schedules (with mailing matrix), the Court will
fix by subsequent notice a bar date within which all creditors holding post−petition claims incurred during the
superseded proceeding under Chapter 7, and which are unpaid, including all claims of the United States, any state, or
subdivision thereof must file their claims.

      5. The former trustee, if applicable, is hereby discharged of all further duties and responsibilities herein. The
trustee shall forthwith turn over all money or other property of the estate and all records in his possession to the
newly appointed Chapter 7 trustee.

      6. If converting from a Chapter 13 and there has not been an Order Confirming Plan and Order to Debtor(s)
entered by the Court, then the Court reserves jurisdiction solely to determine fees and expenses for the Chapter 13
trustee and to enter any and all Orders related to disgorgement and proceedings related thereto. The Chapter 13
trustee shall have fourteen (14) days in which to file an application for said fees. Upon the filing of said fee
application, or if no fee application is filed, the Chapter 13 trustee shall forthwith remit all funds on hand, less the
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amounts requested for fees and expenses, to the Debtor(s). The Chapter 13 trustee shall hold all funds not remitted to
Debtor(s) pending a hearing or Order to determine reasonable fees and expenses.

    ORDERED at Tallahassee, Florida, February 14, 2018.

                                                             /s/ Karen K. Specie
                                                             Karen K. Specie
                                                             U.S. Bankruptcy Judge



Service:
 Scott A. Stichter shall serve this document pursuant to the applicable Rules and file a certificate of service within
three (3) days.
